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                                                                           USDC SDNY
                                                                           DOCUMENT
                                                                           ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                               DOC #:
SOUTHERN DISTRICT OF NEW YORK                                              DATE FILED: 12/06/2022
 -------------------------------------------------------------- X
 NIKE, INC.,                                                    :
                                                                :
                                              Plaintiff,        :
                                                                :
                            -against-                           :          22-CV-0983 (VEC)
                                                                :
                                                                :        AMENDED ORDER OF
 STOCKX LLC,                                                    :         REFERENCE TO A
                                                                :        MAGISTRATE JUDGE
                                              Defendant. :
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VALERIE CAPRONI, United States District Judge:

       The above-entitled action is referred to Magistrate Judge Netburn for the following
purpose(s):

___ General Pretrial (includes scheduling,                    ___ Consent under 28 U.S.C. § 636(c) for
discovery, non-dispositive pretrial motions,                      all purposes (including trial)
and settlement)
                                                              ___ Consent under 28 U.S.C. § 636(c) for
 X Specific Non-Dispositive                                       limited purpose (e.g. dispositive motion,
   Motion/Dispute:                                                preliminary injunction)
   All discovery disputes and any requests                        Purpose: ________________________
   for an extension of the discovery
   schedule.                                                  ___ Habeas Corpus

     If referral is for discovery disputes                    ___ Social Security
     when the District Judge is unavailable,
     the time period of the                                   ___ Dispositive Motions (i.e. motion
     referral:_________________________                           requiring Report and Recommendation)
                                                                  Particular Motion: _________________
_X_ Settlement                                                    ________________________________

                                                                    All such motions: ____
__ Inquest After Default/Damages Hearing

SO ORDERED.

                                                                    ________________________
Date: December 6, 2022                                                 VALERIE CAPRONI
      New York, New York                                             United States District Judge
